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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                    Central District
                                                 __________  DistrictofofCalifornia
                                                                          __________

        MARK MCDONALD AND JEFF BARKE                                 )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                        Civil Action No. 8:22-cv-01805-FWS (ADSx)
                                                                     )
  KRISTINA D. LAWSON, in her official capacity as                    )
    President of the Medical Board of California;
                                                                     )
                   (See Attached)
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Laurie Rose Lubiano
                                       Medcial Board of California
                                       2005 Evergreen Street
                                       Suite 1200
                                       Sacramento, California
                                       95815



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Daniel R. Suhr
                                       dsuhr@libertyjusticecenter.org
                                       Liberty Justice Center
                                       440 N. Wells Street, Suite 200
                                       Chicago, Illinois 60604
                                       Phone: 312-637-2280

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               Kiry K. Gray
                                                                            CLERK OF COURT


Date:     10/05/2022
                                                                                       Signature of Clerk or Deputy Clerk
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 Plaintiffs:
 MARK MCDONALD AND JEFF BARKE,


 Defendants:

 KRISTINA D. LAWSON, in her official capacity as President of the Medical
 Board of California; RANDY W. HAWKINS, in his official capacity as Vice
 President of the Medical Board of California; LAURIE ROSE LUBIANO, in her
 official capacity as Secretary of the Medical Board of California; MICHELLE
 ANNE BHOLAT, DAVID E. RYU, RYAN BROOKS, JAMES M. HEALZER,
 ASIF MAHMOOD, NICOLE A. JEONG, RICHARD E. THORP, VELING TSAI,
 and ESERICK WATKINS, in their official capacities as members of the Medical
 Board of California; and ROBERT BONTA, in his official capacity at Attorney
 General of California,
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 Civil Action No. 8:22-cv-01805-FWS (ADSx)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
